          Case 1:16-cv-01241-TWT Document 204 Filed 04/29/19 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


    ROTHSCHILD CONNECTED
    DEVICES INNOVATIONS, LLC,

         Plaintiff,

    v.                                           Case No. 1:16-cv-01241-TWT

    THE COCA-COLA COMPANY,

         Defendant.



                                NOTICE OF APPEAL

         Notice is hereby given that, pursuant to Federal Rules of Appellate Procedure

3 and 4, plaintiff Rothschild Connected Devices Innovations, LLC (“Plaintiff”)

appeals to the United States Court of Appeals for the Federal Circuit from the

appealable summary judgment order entered on March 29, 2019 (Doc. 200),1 and

from all other judgments, orders, decisions, and rulings entered in the case that are

adverse to Plaintiff, including without limitation the claim construction opinion and

order entered on November 14, 2017 (Doc. 79), the discovery orders entered on



1
   This notice of appeal is timely filed pursuant to Federal Rules of Appellate
Procedure 4(a)(1)(A) and 26(a)(1)(C).
         Case 1:16-cv-01241-TWT Document 204 Filed 04/29/19 Page 2 of 3




March 22, 2018 (Doc. 99), April 23, 2018 (Doc. 119) and June 18, 2018 (Doc. 130),

the summary judgment opinion and order entered on April 24, 2019 (Doc. 201), and

the clerk’s judgment entered on April 29, 2019 (Doc. 202).



                                              Respectfully submitted,


Dated:       April 29, 2019                   By: /s/ John C. Carey
                                                     John C. Carey


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                                        2
       Case 1:16-cv-01241-TWT Document 204 Filed 04/29/19 Page 3 of 3




                         CERTIFICATE OF SERVICE

      I hereby certify that on April 29, 2019, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system, which will

automatically send e-mail notification of such filing to all counsel of record who are

deemed to have consented to electronic service.

                                       By: /s/ John C. Carey
                                               John C. Carey



                      CERTIFICATE OF COMPLIANCE
      I hereby certify that the foregoing document is written in 14 point Times New

Roman font in accordance with Local Rule 5.1.

                                       By: /s/ John C. Carey
                                               John C. Carey




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